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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA

OLDCASTLE PRECAST, INC.               )
                                      )
                   Plaintiff,         )
                                      )     CIVIL ACTION
v.                                    )     FILE NO. ________________
                                      )
GUY M. TURNER, INC.                   )
                                      )
                   Defendant.         )
                                      )

                                 COMPLAINT

      Oldcastle Precast, Inc. (“Oldcastle”) for its Complaint against Defendant

Guy M. Turner, Inc. (“Turner”) states as follows:

                        PARTIES AND JURISDICTION

      1. Oldcastle is a For Profit Corporation organized under the laws of the

State of Washington with its principal place of business located in Auburn,

Washington.

      2. Turner is a For Profit Corporation organized under the laws of the State

of North Carolina with its principal place of business located at 4514 S. Holden

Road, Greensboro, North Carolina 27406-9510. Turner’s registered agent is C T

Corporation System, 289 S Culver St., Lawrenceville, Georgia 30046-4805.
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      3. Jurisdiction is proper within this Court pursuant to 28 U.S.C. § 1331 with

respect to the first cause of action in that it arises out of issues of interstate

commerce under the laws or treaties of the United States with an amount in dispute

exceeding $10,000, exclusive of interests and costs, and pursuant to a forum-

selection clause in the contract between the parties. Oldcastle respectfully requests

that this Court exercise supplemental jurisdiction, pursuant to 28 U.S.C. § 1367,

over the second and third cause of action.

      4. Venue is proper in this Court pursuant to a forum-selection clause in the

contract between the parties and because the events giving rise to the claims

occurred in the Northern District of Georgia.

                             GENERAL ALLEGATIONS

      5.     On February 4, 2010, Oldcastle and Turner entered into a written

agreement entitled Motor Carrier/Shipper Agreement for the provision of

transportation services by Turner for Oldcastle (“Contract”). A true and correct

copy of the Contract is attached to this Complaint as Exhibit P-1 and by this

reference is made a part hereof.

      6. In December 2015, Black Diamond General Contracting, Inc. issued a

subcontract agreement to Oldcastle for the purchase of three specially-fabricated

concrete shelters, one of which (the “Shelter”) was to be delivered to Black


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Diamond’s job site in Miami, Florida (“Project”). Oldcastle manufactured the

shelters, including installation of electrical components, at its Newnan, Georgia

facility.    Subsequently, and pursuant to the Contract, Oldcastle and Turner

arranged for Turner to deliver the Shelter to the Project.

       7. On August 29, 2016, Turner was to deliver the two halves of the Shelter

to the Project. After leaving Oldcastle’s facility in Newnan, Georgia, while exiting

I-85 North onto I-285 East on the South side of Atlanta, Turner negligently

overturned its trailer and dumped the half of the Shelter containing special

materials including HVAC, electrical, tile, etc., causing significant damages and

costs incurred by Oldcastle.

       8. Turner did not deliver the half of the Shelter that it did not lose control of

on the interstate. Instead, Turner held that half of the Shelter on its truck at a rest

stop for several days before returning it to Oldcastle’s facility in Newnan, Georgia

and refusing to complete the delivery.

       9. The half of the Shelter that Turner lost control of on the interstate and its

contents were a total loss. Oldcastle had to re-fabricate that half of the shelter and

repurchase components. Oldcastle has sustained damages in the sum of not less

than $264,260.78.




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              COUNT I – LIABILITY OF TURNER PURSUANT TO THE
             CARMACK AMENDMENT, 49 U.S.C § 14706, ET. SEQ.

      10. Oldcastle hereby adopts by reference the allegations in the preceding

paragraphs of this Complaint as if fully stated herein.

      11. On or about July 28, 2016, Oldcastle contracted with Turner to transport

the Shelter from Newnan, Georgia to the Project in Miami, Florida. Turner agreed,

or otherwise as a matter of law was charged, for good and valuable consideration,

to undertake physical transportation of the Shelter from Newnan, Georgia to the

Project in Miami, Florida, and to deliver the Shelter in the same good order and

condition in which Turner received the Shelter.

      12. The Shelter was duly tendered in its entirety to Turner in good order and

condition.    However, Turner failed to deliver the Shelter in good order and

condition, as Turner negligently overturned its trailer and lost control of half of the

Shelter prior to arrival at the Project and held the other half of the Shelter on its

truck at a rest stop for several days before returning it to Oldcastle’s facility in

Newnan, Georgia.

      13. Turner’s obligations of interstate transportation of the Shelter are, and at

all material times here were, governed by the Carmack Amendment, 49 U.S.C. §

14706, et. seq. (“Carmack”), under which Turner owed the highest degree of care



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in relation to the Shelter. In failing to deliver the Shelter in good order and

condition, Turner breached its statutory obligations under Carmack.

      14.   As a direct and proximate result of Turner’s acts and omissions,

damages were incurred by Oldcastle in the sum of not less than $264,260.78.


             COUNT II – LIABILITY OF TURNER FOR BREACH OF
                             CONTRACT

      15.   Oldcastle hereby adopts by reference the allegations in preceding

paragraphs of this Complaint as if fully stated herein.

      16. On February 4, 2010, Robbie Stephens, as the Terminal Manager and an

authorized representative of Turner, executed the Contract between Oldcastle and

Turner with an effective date of February 4, 2010.

      17. On or about August 26, 2016, Turner, by and through Clarence Gilbert,

agreed to transport the Shelter from Newnan, Georgia to the Project in Miami,

Florida, and to care for, protect, handle, transport, discharge, and deliver the

Shelter under specified terms and conditions, more specifically set forth in the

Contract.

      18.    Half of the Shelter was damaged while it was under the care, custody

and control of Turner, which damage itself is a breach of the Contract.




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      19. The other half of the Shelter was never delivered, which is itself also a

breach of the Contract.

      20.    Pursuant to the Contract, Turner agreed to defend, indemnify and hold

harmless Oldcastle from all damages, losses, and expenses (including attorney’s

fees) arising out of or in any way involving the activities or operations of Turner or

its agents, servants, employees, or officers.

      21. Turner further breached the Contract by failing to pay Oldcastle for the

damages incurred by Oldcastle when Turner overturned its trailer irreparably

damaging the Shelter despite Oldcastle’s demand for the same.

      22. Turner further breached the Contract by refusing to haul the replacement

load and refusing to reimburse Oldcastle for the additional cost of transporting the

Shelter subsequent to Turner’s refusal to the deliver any part of the Shelter.

      23. Turner’s refusal to deliver the replacement load as well as the half of the

Shelter that it did not lose control of, but held several days before returning to

Oldcastle, resulted in extra trucking costs of $66,835.40.          As a direct and

proximate result of Turner’s breaches of the Contract, damages were incurred by

Oldcastle in the sum of not less than $264,260.78.


            COUNT III – LIABILITY OF TURNER FOR NEGLIGENCE



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        24. Oldcastle hereby adopts by reference the allegations in the preceding

paragraphs of this Complaint as if fully stated herein.

        25. Turner agreed to transport the Shelter from Newnan, Georgia to the

Project in Miami, Florida. In agreeing to perform that transportation, Turner

undertook a duty and to care for, protect, handle, transport, discharge, and deliver

the Shelter in the same good order and condition as when Turner received the

same.

        26.      Turner received the Shelter in good order and condition. But, Turner

breached the aforementioned duty of care by failing and neglecting to deliver the

Shelter in the same good order and condition as when Turner received the same.

To the contrary, the Shelter was irreparably damaged while it was in the care,

custody, and control of Turner prior to delivery.

        27.      By reason of the foregoing breach, Oldcastle incurred damages in the

sum of not less than $264,260.78.

        WHEREFORE, Oldcastle prays for judgment on its complaint as follows:

        1. For a judgment against Turner for monetary damages suffered by

              Oldcastle in an amount according to proof not less than $264,260.78;




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     2. For a judgment against Turner for prejudgment interest, as well as the

        attorneys’ fees, court costs and expenses incurred by Oldcastle in the

        prosecution of this action against Turner; and

     3. For such other relief as the Court deems just and proper.

     This 23rd day of October, 2017.

     Respectfully Submitted,

                                             OLDCASTLE LAW GROUP

                                             /s/ David M. Toolan
                                             David M. Toolan
                                             Georgia Bar No. 714620

                                             /s/ Sarah T. Brooks
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